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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
JOSEPH RANDOLPH MAYS,                              )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )
                                                   )        Civil Action No. 20-2197 (CKK)
FEDERAL BUREAU OF PRISONS, et al.,                 )
                                                   )
               Defendants.                         )
                                                   )
                                                   )
                                                   )

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 19th day of March, 2021, he served a copy

of the foregoing Motion for Summary Judgment; Statement of Material Facts Not in Dispute;

Declaration of Kelly Forbes, with attached Exhibits A through Q; and Vaughn Index, upon the

Pro Se Plaintiff, via regular mail, at the following address:

Joseph Randolph Mays
Pro Se
R#43487-007
Gilmer Federal Correctional Institution
Inmate Mail/Parcels
P.O. Box 6000
Glenville. WV 26351-6000

Dated: March 19, 2021                                           Respectfully submitted,

                                                                CHANNING D. PHILLIPS
                                                                D.C. Bar No. 415793
                                                                Acting United States Attorney

                                                                BRIAN P. HUDAK
                                                                Acting Chief, Civil Division


                                                                By: /s/Thomas W. Duffey
                                                                THOMAS W. DUFFEY
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